                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                              DOCKET NO. 3:05CR400-1-W



UNITED STATES OF AMERICA            )
                                    )
      v.                            )                      ORDER
                                    )
CHARLES ROBERT CUMMINS, et. al. )
                                    )
             Defendants.            )
____________________________________)


              THIS MATTER is before the Court upon defense counsel’s “Motion For Travel

Expenses” (document #75), filed October 25, 2006, which is a request to travel to California to meet

with his client (Charles Robert Cummins). Having conferred with defense counsel (James S.

Weidner, Jr.) and Supervisory Deputy United States Marshal Kelly M. Nesbit, the undersigned

concludes that it would be much less expensive and otherwise preferable to bring Mr. Cummins to

Charlotte, North Carolina for debriefing and, barring an unforseen change in plans, for entry of a

guilty plea pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

              NOW THEREFORE, IT IS ORDERED:

              1. The Court finds that the Defendant remains an indigent and that transportation from

his home in California to Charlotte, North Carolina for the above stated purposes is in the interest

of justice.

              2. The United States Marshal is directed to make travel arrangements for the Defendant

from California to Charlotte, North Carolina between November 6 and 10, 2006; and upon

notification from defense counsel that the Defendant is ready to return, to make travel arrangements




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from Charlotte, North Carolina back to his home in California.

          3. Defense counsel (Mr. Weidner) is directed to contact Supervisory Deputy United States

Marshal Nesbit and to provide any information necessary for the United States Marshal to comply

with the terms of this Order.

          4. The Clerk is directed to send copies of this Order to counsel for the parties (including

Mr. Weidner); to Mr. Nesbit; and to the Honorable Frank D. Whitney.

          SO ORDERED.

                                                 Signed: October 27, 2006




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